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16                             UNITED STATES DISTRICT COURT

17                                   DISTRICT OF NEVADA

18    RIMINI STREET, INC., a Nevada corporation,      Case No. 2:14-cv-01699 LRH CWH
                               Plaintiff,
19                                                    ORACLE’S MOTION FOR PARTIAL
            v.                                        SUMMARY JUDGMENT AND
20                                                    SUPPORTING MEMORANDUM OF
      ORACLE AMERICA, INC., a Delaware                POINTS AND AUTHORITIES
21    corporation; and ORACLE INTERNATIONAL           REGARDING RIMINI’S MIGRATION
      CORPORATION, a California corporation,          AND WINDSTREAM HOSTING
22
                                Defendants.
23                                                    Judge:      Hon. Larry R. Hicks
      ORACLE AMERICA, INC., a Delaware
24    corporation; and ORACLE INTERNATIONAL
      CORPORATION, a California corporation,
25                        Counterclaimants,

            v.                                        PUBLIC REDACTED
26

27    RIMINI STREET, INC., a Nevada corporation;
      SETH RAVIN, an individual,
28                      Counterdefendants.

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23    Viesti Associates, Inc. v. McGraw–Hill Global Educ. Holdings, LLC,
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27      227 F.3d 1110 (9th Cir. 2000)...................................................................................................23

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 1    NOTICE OF MOTION AND MOTION
 2            Pursuant to Federal Rule of Civil Procedure 56(a), Oracle International Corporation
 3    (“Oracle” or “OIC”) respectfully moves this Court to grant Oracle partial summary judgment on
 4    Oracle’s first claim for relief against Rimini Street, Inc. (“Rimini”) and on Rimini’s second
 5    affirmative defense (express license). This motion is based on this notice of motion, supporting
 6    memorandum of points and authorities herein, the evidence attached to the accompanying
 7    Appendix of Exhibits, the supporting declarations, the entire record in this action, and such other
 8    matters and argument as may be presented to the Court.
 9    I.      INTRODUCTION
10            In Rimini I, this Court ruled that Rimini infringed Oracle’s copyrights by making copies of
11    Oracle software on computers located at Rimini’s facilities rather than a customer’s facilities.
12    The undisputed evidence here shows that, rather than delete those infringing copies, Rimini made
13    additional copies of the infringing customer environments, and either sent copies of those
14    infringing environments to customers or third-party hosters. Oracle is entitled to a judgment as a
15    matter of law because a copy of an infringing software environment is necessarily infringing,
16    regardless of where it is sent. Further, as to the environments that Rimini sent to third parties,
17    Rimini has once again violated the facilities restriction in the relevant licenses, as a third party’s
18    facilities are not the customer’s facilities.
19            From the moment it initiated the Rimini II litigation, Rimini touted its so-called
20    “migration” as a part of its supposed cure to its widespread infringement of Oracle’s software
21    copyrights. ECF No. 1 ¶ 8. In actuality, Rimini’s “migration” constituted systematic, unlicensed
22    reproduction and distribution of infringing copies of Oracle’s copyrighted software on a massive
23    scale—largely after this Court issued its February 2014 partial summary judgment order in Rimini
24    I, and in clear violation of that order. Following that order, Rimini created                additional
25    copies of Oracle software
26            After the Court ruled in Rimini I that the “local” PeopleSoft environments on Rimini’s
27    systems were infringing and unlicensed, instead of deleting those environments (or at least
28    ceasing to use them), Rimini instead made even more copies of those infringing environments and
                                                   1
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 1    then distributed those copies to new locations.
 2

 3

 4            This motion concerns Rimini’s reproduction and distribution of Oracle software in
 5    connection with Rimini’s “migration” of environments it claims are associated with four
 6    exemplar Rimini customers:
 7                                                                 Oracle seeks a ruling that Rimini
 8    infringed the relevant Oracle copyrights, and possesses no express license defense, as to each of
 9    the following categories of copying:
10               First, as part of the “migration,” Rimini made additional infringing copies of the
11                infringing environments it had on its computer system.
12

13

14               Second, Rimini created and then distributed additional copies of those materials to its
15                customers
16               Third, Rimini created                               additional copies of those materials
17                                     on third-party cloud servers hosted by Windstream Hosted
18                Solutions.
19            Rimini’s conduct infringed Oracle’s copyrights, and none of Rimini’s copying and
20    distribution here was licensed. No license allowed Rimini’s                       ” reproduction of
21    these infringing copies of Oracle’s copyrighted software on Rimini’s computer systems, or to
22    then distribute those copies. Applied to the undisputed facts, the law and principles that animated
23    the Court’s past orders—including the Court’s prior interpretation of relevant license provisions,
24    which was affirmed by the Ninth Circuit and has preclusive effect here—mandate the same result
25    here: a finding of copyright infringement and the dismissal of Rimini’s express license defense
26    for all of these copies.
27            Rimini’s express license defense further fails with respect to the Oracle software
28    environments copied to Windstream and supposedly associated with
                                                2
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 1                                                                . Rimini copied the environments again
 2                                                                                     to create new
 3    working environment instances hosted by third-party cloud-hosting provider Windstream. These
 4    Windstream environments are not at the customer’s “facilities.” The term “facilities” refers to a
 5    physical location, owned or leased by the licensee customer. In Rimini I, the Court ruled that the
 6    PeopleSoft facilities restriction “expressly limits copying the licensed software to only the
 7    [licensee’s] facilities,” and that environments hosted on Rimini servers violated that restriction.
 8    The Ninth Circuit affirmed. Windstream is likewise not the licensee’s facility because
 9    Windstream data centers are a separate location from the licensee, which the licensee does not
10    own or lease. The customer merely contracts with Windstream for cloud services. As shown in
11    detail through the exemplars in this motion, the Windstream-hosted environments are unlicensed
12    because they violate the same facilities restriction that the Court previously construed in Rimini I.
13    II.     STATEMENT OF UNDISPUTED MATERIAL FACTS (LR 56-1)
14            Oracle sets forth below the specific, undisputed facts that are material to its request for
15    partial summary judgment, together with citations to the evidence attached as exhibits (“Ex.”) to
16    the supporting Appendix of Exhibits, as required by Civil Local Rule 56-1 and Civil Local Rule
17    10-3(b), and as described in the accompanying Declaration of Marilyn Tiki Dare (“Dare Decl.”),
18    Declaration of Lisa Ripley (“Ripley Decl.”), Declaration of Lindsey Shinn (“Shinn Decl.”), and
19    Declaration of Barbara A. Frederiksen-Cross (“Frederiksen-Cross Decl.”). These facts are cited
20    throughout this motion as “SUF [#],” with reference to the numbered paragraphs in this section.
21            A.      The Licenses For the Customers At Issue In This Motion Contain Limited
                      License Grants                                                      .
22

23            1.      The PeopleSoft licenses for
24                                               contain the same limited license grants included in the
25    City of Flint license that the Court in Rimini I ruled, and the Ninth Circuit affirmed, “expressly
26    limit[] use of the software [] to the City of Flint’s facilities,” “expressly limit[] copying the
27    licensed software to only the City of Flint’s facilities,” and “do[] not authorize Rimini’s off-site
28    copies of the licensed software.” See Ripley Decl. ¶¶ 5-7; Ex. 8 (City of Flint, MI PeopleSoft
                                                    3
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 1    license) at ORCLRS0004135; Ex. 9 (                                                          ) at
 2    ORCLRST00049306; id. at ORCLRST00049310; Ex. 10 (                                              PeopleSoft
 3    license) at ORCLRST00049092; Shinn Decl. ¶¶ 3-5; Ex. 14 (Document from the Florida
 4    Secretary of State re                                         ); Exs. 15a-15b (Documents
 5                                          ); Oracle USA, Inc. v. Rimini Street, Inc., 6 F. Supp. 3d 1086,
 6    1097-98 (D. Nev. 2014) (ruling that City of Flint license included facilities restriction); Oracle
 7    USA, Inc. v. Rimini Street, Inc., 879 F.3d 948, 959-60 (9th Cir. 2018) (affirming copyright
 8    liability for PeopleSoft software based on facilities restriction).
 9           2.      The PeopleSoft licenses for
10                                            contain the same limited license grants included in the
11    license for the Pittsburgh Public Schools, which the Court construed as limiting both the copying
12    and use of the licensed software to “facilities owned or leased by [the Pittsburgh Public
13    Schools].” Oracle USA, Inc., 6 F. Supp. 3d at 1100; see Ripley Decl. ¶¶ 8-12; Ex. 11 (Pittsburgh
14    Public Schools license, ORCLRS016498); Ex. 12                         PeopleSoft license,
15    ORCLRST00763306); Ex. 13 (                 PeopleSoft license, ORCLRST00007225).
16           3.      The Oracle PeopleSoft licenses for the four customers at issue in this motion
17                                                                   See Ripley Decl. ¶¶ 6-7, 9-12; Ex. 13
18    (           ORCLRST00007225); Ex. 10 (               ORCLRST00049092); Ex. 9
19    ORCLRST00049305 at 9306); Ex. 12 (                     ORCLRST00763306).
20           4.      Oracle PeopleSoft customers with such limited license grants may not
21                                                                              without an express license
22    right to do so. Shinn Decl. ¶¶ 18, 34; Ex. 44 (Transcript Excerpts of 30(b)(6) Deposition of
23    Oracle (Richard Allison), Mar. 28, 2018) at 133:18-135:17, 146:24-147:7; Ex. 28 (Transcript
24    Excerpts of Deposition of Safra Catz, Feb. 16, 2018) at 67:14-21, 76:6-77:24.
25           B.      Rimini Copied Oracle’s Copyrighted Software to Create Infringing “Local”
                     Environments on Its Computer Systems.
26

27           5.      Each of the four customers discussed here contracted with Rimini after
28                                                                                 Shinn Decl. ¶¶ 6-7; Ex. 16
                                                       4
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 1    9.1), TX 5-266-221 (PeopleTools 8.10), and TX 7-092-757 (PeopleTools 8.50) were each
 2    obtained within five years of first publication. The registration for TX 8-151-290 (PeopleTools
 3    8.51) was obtained five years and five months after first publication. Four of the certificates
 4    establish OIC as the original copyright claimant as to each of the works, and ownership of the two
 5    certificates that identify PeopleSoft, Inc. as the original claimant were transferred to OIC on
 6    March 1, 2005. OIC is also PeopleSoft, Inc.’s successor-in-interest, and owns the PeopleSoft-
 7    branded software. Dare Decl. ¶¶ 3-8; Exs. 1-6 (certificates of registration); Ex. 7 (Asset Transfer
 8    Agreement); see also ECF No. 867-3, Declaration of Marilyn Tiki Dare in support of Oracle’s
 9    Motion Pursuant to 17 U.S.C. § 410(c) at ¶¶ 20-22, 23(g); id., Exs. QQ.15 & RR.
10           9.      Rimini does not
11                                        and Rimini’s express license affirmative defense
12                                             . Shinn Decl. ¶ 12; Ex. 22 (Rimini’s First Suppl. Resp. to
13    Interrog. No. 15 at 6-7); see Oracle USA, Inc., 6 F. Supp. 3d at 1094.
14           C.      Rimini Copied and Distributed Infringing Oracle Software Environments
                     During Its So-Called “Migration.”
15

16           10.     As part of what Rimini called a “migration,” Rimini
17                                                                             of the local Oracle software
18    environments that were on Rimini’s computer systems
19                                                                    , and then
20                                                                      . Shinn Decl. ¶¶ 9-11, 20, 25,
21    42; Ex. 21 (Rimini’s First Supp. Resp. to Interrog. No. 4); Ex. 55 (Transcript Excerpts of
22    Deposition of 30(b)(6) Deposition of Rimini (Steven Salaets), May 17, 2016 (“Salaets I Depo.”))
23    at 169:23-170:25; Ex. 19 (Rimini’s Tenth Supp. Resp. to Interrog. No. 3 at 10); Ex. 20 (Rimini’s
24    Tenth Supp. Resp. to Interrog. No. 3, Ex. D-3.5); Ex. 30 (Transcript Excerpts of Deposition of
25    Manjula Hosalli, Dec. 15, 2016 (“Hosalli Depo.”)) at 12:1-14, 13:19-14:1, 131:6-24, 196:21-
26    197:15, 198:12-18; Ex. 35 (Transcript Excerpts of Deposition of David Miller, Nov. 9, 2017
27    (“Miller Depo.”)) at 34:11-21. Rimini                              of those environments and then
28                                      . Shinn Decl. ¶¶ 42, 20; Ex. 55 (Salaets I Depo.) at 157:15-20;
                                                    6
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 1                                   . Shinn Decl. ¶¶ 77, 84, 16; Ex. 90 (RSI2_016823906); Ex. 97
 2                          (RSI2_017433179
 3                                                                            Ex. 26 (Benge Depo.) at
 4                          200:21-203:9.
 5                  c.      Rimini copied the local environment for
 6                                            Shinn Decl. ¶¶ 88; Ex. 101 (RSI2_017461758 (
 7

 8                                          )).
 9                  d.      Rimini copied the local environment
10                                         . Shinn Decl. ¶¶ 75, 87, 86, 42, 45-47, 20, 24; Ex. 88
11                          (RSI2_016546576                       )); Ex. 100 (RSI2_017461571
12

13                                         ”)); Ex. 99 (RSI2_017461566 (
14                                                                                         see generally
15                          Ex. 55 (Salaets I Depo.) at 213:2-220:7; 224:18-230:12; 328:13-330:25;
16                          Ex. 58 (Depo. Ex. 9); Ex. 59 (Depo. Ex. 11); Ex. 60 (Depo. Ex. 23); Ex. 30
17                          (Hosalli Depo.) at 157:6-158:15, 201:8-202:21, 257:13-260:7; Ex. 34
18                          (Depo. Ex. 221).
19           20.    Rimini then distributed the                                           Oracle
20    software environments                                      . Shinn Decl. ¶¶ 96, 22, 20, 42, 36;
21    Ex. 109 (                       ); Ex. 32 (Depo. Ex. 217); Ex. 30 (Hosalli Depo.) at 200:14-202:7,
22    214:6-14 Ex. 55 (Salaets I Depo.) at 158:4-12, 188:1-20; Ex. 46 (Depo. Ex. 193).
23                  a.      Rimini                                                                      .
24                          Shinn Decl. ¶¶ 62, 8, 10, 35; Ex. 75 (RSI2_013555942 (R. Charland
25                          email)); Ex. 18 (Rimini’s Tenth Supp. Resp. to Interrog. No. 3 at 10); Ex.
26                          20 (Rimini’s Tenth Supp. Resp. to Interrog. No. 3, Ex. D-3.5); Ex. 45
27                          (Transcript Excerpts of 30(b)(6) Deposition of Snelling Holdings (Caren
28                          Coffel), Dec. 14, 2016 (“Coffel Depo.”)) at 1:1-25, 45:9-46:2.
                                                    9
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 1                   b.      Rimini                                                                   .
 2                           Shinn Decl. ¶¶ 77, 16, 8, 10; Ex. 90 (RSI2_016823906 (
 3

 4                                 )); Ex. 26 (Benge Depo.) at 200:21-203:9; Ex. 18 (Rimini’s Tenth
 5                           Supp. Resp. to Interrog. No. 3 at 10); Ex. 20 (Rimini’s Tenth Supp. Resp.
 6                           to Interrog. No. 3, Ex. D-3.5).
 7                   c.      Rimini                                                                       .
 8                           Shinn Decl. ¶¶ 62, 8, 10, 35; Ex. 75 (RSI2_013555942 (
 9                                    ; Ex. 18 (Rimini’s Tenth Supp. Resp. to Interrog. No. 3 at 10); Ex.
10                           20 (Rimini’s Tenth Supp. Resp. to Interrog. No. 3, Ex. D-3.5); Ex. 45
11                           (Coffel Depo.) at 1:1-25, 45:9-46:2.
12                   d.      Rimini
13                                               . Shinn Decl. ¶¶ 58, 69, 8, 10; Ex. 71 (RSI2_002919999
14                           (
15                                            Ex. 81 (RSI2_013809328 (
16                           Ex. 18 (Rimini’s Tenth Supp. Resp. to Interrog. No. 3 at 10); Ex. 20
17                           (Rimini’s Tenth Supp. Resp. to Interrog. No. 3, Ex. D-3.5).
18           21.     Rimini CEO Seth Ravin was on notice from the Court’s February 13, 2014 Order
19    in Rimini I that “representative” Oracle licenses “
20                                                          ,’” and that
21

22                                              Shinn Decl. ¶¶ 93-94, 42; Ex. 106 (RSI2_025031645
23    (                                   )); Ex. 107 (RSI2_025031647 (                         ))
24    (emphasis added); see generally Ex. 55 (Salaets I Depo.) at 90:12-91:4, 91:25-92:9, 273:2-9.
25           22.     Rimini’s servers, and
26                               Shinn Decl. ¶¶ 93-94, 42; Ex. 107 (RSI2_025031647 (
27        ); Ex. 55 (Salaets I Depo.) at 158:4-12, 188:1-20.
28
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 1                                                          Ex. 85 (RSI2_014785292,                     ); Ex.
 2    93 (RSI2_016918356,                     ); Ex. 36 (Depo. Ex. 804); Ex. 35 (Miller Depo.) at 42:20-
 3    43:1, 45:19-47:12, 55:5-60:25; Ex. 77 (RSI2_013619494,                             Ex. 55 (Salaets I
 4    Depo.) at 87:1-89:19, 237:5-238:12; Ex. 39 (Ravin Depo.) at 50:16-22; Ex. 30 (Hosalli Depo.) at
 5    216:15-218:7; Ex. 109                            ).
 6           31.     Once the PeopleSoft software was copied to Windstream’s servers, Rimini would
 7                                    . Shinn Decl. ¶¶ 25, 20, 96; Ex. 35 (Miller Depo.) at 60:11-23; Ex.
 8    30 (Hosalli Depo.) at 216:15-217:3; Ex. 109                                 ).
 9           32.     Rimini then built or configured the PeopleSoft Software (
10

11                     Shinn Decl. ¶¶ 61, 65, 25, 20, 96; Ex. 74 (RSI2_013545847
12

13                  Ex. 78 (RSI2_013619724 (
14

15                                                             ) at 36:9-24, 41:3-8, 42:8-19; 47:5-25; Ex. 30
16    (Hosalli Depo.) at 218:16-219:10; Ex. 109 (                            ).
17           33.     Rimini did not
18                             s. Shinn Decl. ¶¶ 8, 10; Ex. 18 (Rimini’s Tenth Supp. Resp. to Interrog.
19    No. 3 at 10); Ex. 20 (Rimini’s Tenth Supp. Resp. to Interrog. No. 3, Ex. D-3.5,
20           34.     Rimini then reproduced Oracle software
21

22                                        second Oracle software environments
23                                                               , respectively. Shinn Decl. ¶¶ 71, 74, 82, 96,
24    20, 42; Ex. 84 (RSI2_014783994 at RSI2_014783999
25           ; Ex. 87 (RSI2_015728276 (                                      )); Ex. 95 (RSI2_017359106
26    (                                )); Ex. 109 (
27                                                                                     ”)); Ex. 30 (Hosalli
28    Depo.) at 224:11-16; Ex. 55 (Salaets I Depo.) at 87:1-89:19, 237:5-238:12.
                                                    13
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 1

 2                                                                    Shinn Decl. ¶¶ 51; Ex. 64 (Depo. Ex.
 3                           2231) at Section 1.b
 4                  b.
 5

 6

 7                                                           Id. at
 8                  c.
 9

10                                                         . Id. at
11

12                  d.
13

14

15

16

17                           . . .” Id. at
18

19                                           Id. at Exhibit A.
20                  e.
21

22

23

24

25           44.
26

27                       Shinn Decl. ¶¶ 70, 41, 37; Ex. 83 (RSI2_014708918) at RSI2_014708924; Ex.
28    51 (Depo. Ex. 2211); Ex. 47 (Heaberlin Depo.) at 33:6-34:3, 35:19-38:2 (
                                                 17
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                                    2
 1

 2                 a.
 3

 4

 5

 6

 7                                                             Shinn Decl. ¶¶ 70; Ex. 83
 8                        (RSI2_014708924) at
 9                 b.
10

11

12                                                         ” Id. at RSI2_014708930.
13                 c.
14

15                                           Id. at
16                 d.
17

18

19

20                                                                                                    ..
21                        . .” Id. at Section 3.i.
22                                                                        Id. at
23          45.    In a Windstream multitenant agreement (
24

25                                                             Shinn Decl. ¶¶ 38, 37; Ex. 48 (Depo.
26
      2
       The Master Services Agreement attached to the Rio Tinto agreement defines “Company” as
27    Windstream. Shinn Decl. ¶¶ 70; Ex. 83 (RSI2_014708924). This paragraph substitutes
      “[Windstream]” for “Company” throughout for clarity.
28
                                                      18
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 1    Ex. 2202); Ex. 47 (Heaberlin Depo.) at 15:9-23, 17:1-10.
 2           46.    In contrast, in a Windstream colocation agreement,
 3

 4

 5                  Shinn Decl. ¶¶ 37; Ex. 47 (Heaberlin Depo.) at 61:1-11; id. at 14:7-22, 31:5-18.
 6           47.                                                                   with Windstream.
 7    Shinn Decl. ¶¶ 51, 70; Ex. 64 (Depo. Ex. 2231); Ex. 83 (RSI2_014708924).
 8           48.                                                            Shinn Decl. ¶¶ 38-40; Ex.
 9    50 (Depo. Ex. 2210); Ex. 48 (Depo. Ex. 2202); Ex. 49 (Depo. Ex. 2203).
10           49.
11

12                                         Shinn Decl. ¶¶ 92, 85, 65, 72, 91, 78, 59, 69; Ex. 105
13    (RSI2_021735795                                                                              )); Ex.
14    98 (RSI2_017461548                                                                        )); Ex.
15    78 (RSI2_013619724
16                         ); Ex. 85 (RSI2_014785292                     )); Ex. 104 (RSI2_021452979
17    (
18                                   Ex. 91 (RSI2_016913482
19                                                               Ex. 72 (RSI2_013042892
20                                                                                      ; Ex. 82
21    (RSI2_013810189 (
22                                                      )).
23           50.    Rimini is on notice that the
24                                                                                     . Shinn Decl. ¶¶
25    79, 83, 51, 41, 37, 70; Ex. 92 (RSI2_016914552 (
26                         )); Ex. 96 (RSI2_017364057 (same re              )); Ex. 64 (Depo. Ex. 2231);
27    Ex. 83 (RSI2_014708924); Ex. 51 (Depo. Ex. 2211); Ex. 47 (Heaberlin Depo.) at 33:6-34:24.
28           51.    Rimini orchestrated the migration
                                                  19
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 1                                       Shinn Decl. ¶¶ 54, 25; Ex. 67 (
 2                      2., RSI2_000009236); Ex. 35 (Miller Depo.) at 92:7-100:1.
 3    III.   LEGAL STANDARD
 4           Summary judgment is appropriate when the evidence shows that “there is no genuine
 5    issue as to any material fact and that the moving party is entitled to judgment as a matter of law.”
 6    Fed. R. Civ. Proc. 56(a). “A party may move for summary judgment” on a “claim or defense” or
 7    on “part of” a “claim or defense.” Id.
 8    IV.    ORACLE HOLDS EXCLUSIVE RIGHTS TO REPRODUCE AND
             DISTRIBUTE THE RELEVANT COPYRIGHTS
 9

10           To prove a prima facie case of copyright infringement, Oracle must show (1) ownership
11    of the relevant copyrights, and (2) copying of protected expression. Range Road Music, Inc. v.
12    East Coast Foods, Inc., 668 F.3d 1148, 1153 (9th Cir. 2012). For all of the conduct at issue in
13    this motion, Oracle’s copyright registrations and transfer agreements relating to those
14    registrations satisfy the first element. Rimini’s discovery admissions, document production, and
15    deposition testimony, discussed in sections below in connection with the infringing copies that
16    Rimini created, satisfy the second element.
17           OIC was the owner or exclusive licensee of exclusive rights in the registered copyrights at
18    issue in this motion at all relevant times, satisfying the first element of Oracle’s prima facie
19    infringement case. 17 U.S.C. §§ 501(b), 201(d)(2); SUF 8. Where a certificate of copyright
20    registration was obtained within five years of first publication of the registered work, the
21    copyright is presumed valid, and all statements of fact within the certificate are presumed to be
22    true. 17 U.S.C. § 410(c); see also Cosmetic Ideas, Inc. v. IAC/InteractiveCorp., 606 F.3d 612,
23    619 (9th Cir. 2010).
24            For five of the six registrations at issue in this motion, the statutory presumption is
25    sufficient to establish OIC’s ownership or exclusive license. SUF 8. Thus, OIC is the current
26    owner of these registered works. 17 U.S.C. § 201(d)(1). Since no competent, extrinsic evidence
27    to the contrary has been produced, the first element of Oracle’s prima facie infringement case has
28    been satisfied as to these registrations. SUF 8; S.O.S., Inc. v. Payday, Inc., 886 F.2d 1081, 1086-
                                                     20
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 1    88 (9th Cir. 1989) (affirming summary judgment because evidence regarding derivative work and
 2    authorship status was insufficient to rebut the presumption); Dream Games of Arizona v. PC
 3    Onsite, 561 F.3d 983, 987 & n.2 (9th Cir. 2009).
 4            As for PeopleTools 8.51 (TX 8-151-290), the certificate of registration for this
 5    copyrighted work issued approximately five months after the five-year window that would have
 6    entitled this copyright to the § 410(c) statutory presumption. SUF 8. Given this minor delay, and
 7    consistent with the Copyright Act and in light of the overwhelming evidence of Oracle’s
 8    ownership (SUF 8), the Court should exercise its discretion to give full weight to the sixth
 9    registration, for PeopleTools 8.51 (TX 8-151-290) and conclude that the copyright and all
10    statements contained in its certificate of registration are valid. Brighton Collectibles, Inc. v. RK
11    Tex. Leather Mfg., 2012 U.S. Dist. LEXIS 177718, at *8 (S.D. Cal. Nov. 14, 2012) (“The
12    Copyright Act allows the district court the discretion to determine the evidentiary weight
13    accorded to a certificate when the only flaw is the passage of time,” and noting that most courts
14    conclude that even registrations not obtained within five years constituted prima facie evidence)
15    (collecting cases); Graphic Design Marketing, Inc. v. Xtreme Enters., Inc., 772 F. Supp. 2d 1029,
16    1032-33 (E.D. Wisc. 2011) (affording 410(c) presumption “even though the copyright was
17    obtained ten years after first publication”); Religious Tech. Ctr. v. Netcom On-Line Comm’n
18    Svcs., Inc., 923 F. Supp. 1231, 1242 (N.D. Cal. 1995) (finding that “plaintiff’s registrations are
19    strong evidence of the validity of their claimed copyrights” after reviewing evidence of
20    assignment of copyrights and of renewal terms for works registered more than five years after
21    date of first publication).
22    V.      RIMINI INFRINGED ORACLE’S COPYRIGHTS BY CREATING
              ADDITIONAL COPIES OF THE INFRINGING LOCAL
23            ENVIRONMENTS
24            A.      Rimini Copied Protected Expression When As Part of the “Migration” It
                      Created                   ” Copies of the Infringing Local Environments
25                    On Rimini’s Computer Systems.
26            Even after the Court unambiguously ruled in February 2014 that Rimini infringed
27    Oracle’s copyrights by creating copies of Oracle’s PeopleSoft software on Rimini’s computer
28    systems, Rimini continued to create copies of Oracle’s PeopleSoft software
                                                    21
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 1              SUF 5-8. During its migration process, Rimini created additional copies of Oracle’s
 2    protected expression
 3                                                                    SUF 10, 16-18. Rimini then
 4    created yet more copies of Oracle software by creating copies
 5

 6                                                    SUF 10, 19, 21-23. This allowed Rimini to retain
 7    access to the fruits of its infringing conduct from the Rimini I era because
 8                                                                     the Oracle software environments
 9    and methods found to be infringing in Rimini I. SUF 1-2, 10, 16-18.
10           Each copy that Rimini created during this process—
11                                 (SUF 10, 15-18, 22), and each subsequent copy
12                                            (SUF 10, 19-20)—is a distinct copy of Oracle’s software.
13    Copies of software cannot be “moved” electronically; instead, each step in Rimini’s process
14    yields an additional copy, such that there are at least two copies where once there was only one.
15    SUF 10, 15, 19. Rimini understood this;
16

17                                                                               SUF 11, 21; see, e.g.,
18    Capitol Records LLC v. ReDigi Inc., 934 F. Supp. 2d 640, 649-51 (S.D.N.Y. 2013) (finding
19    reproduction right infringed where defendant argued that “it ‘migrates’ a file from a user’s
20    computer to its Cloud Locker, so that the same file is transferred to the ReDigi server and no
21    copying occurs,” noting that “when a user downloads a digital music file or ‘digital sequence’ to
22    his ‘hard disk,’ the file is ‘reproduce[d]’ on a new phonorecord within the meaning of the
23    Copyright Act.”).
24           Each of these copies further embodied Oracle’s protected expression. Oracle
25    demonstrated in the section above that each of the six       environments at issue here, associated
26    with                                               , contained the copyrighted expression
27    protected by the enumerated copyright registrations. See supra Section IV; SUF 5-8. Oracle also
28    demonstrated that with respect to at least four of these environments,                              ,
                                                     22
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 1                  , that they                                                          SUF 18. Rimini
 2    then copied these six       environments associated with
 3          to create the                                                                  . SUF 5-6, 10,
 4    15, 19. When it created each copy, it reproduced the same Oracle protected expression found in
 5    underlying       environment. SUF 10-11, 15-19, 23. “When [Rimini] copies a copy, [it] copies
 6    the original.” Well-Made Toy Mfg. Corp. v. Goffa Intern. Corp., 210 F. Supp. 2d 147, 165
 7    (E.D.N.Y. 2002) (“There is a transitive property to actual copying: if work A is an actual copy of
 8    work B, and work B is an actual copy of work C, then work A is deemed an actual copy of work
 9    C.”) (citing Pye v. Mitchell, 574 F.2d 476 (9th Cir. 1978)); see also MAI Sys. Corp. v. Peak
10    Computer Corp., 991 F.2d 511, 518-19 (9th Cir. 1993) (affirming summary judgment finding of
11    infringement where defendant copied plaintiff’s software into computer memory from a storage
12    medium and maintained multiple copies on computers at its headquarters).
13           B.      Rimini Possesses No Express License Defense For This Copying.
14           Rimini had no license to engage in any of this copying. Express license is an affirmative
15    defense. Worldwide Church of God v. Philadelphia Church of God, Inc., 227 F.3d 1110, 1114
16    (9th Cir. 2000). A copyright owner holds the exclusive right both “to do and to authorize” each
17    of the exclusive rights enumerated in the Copyright Act. 17 U.S.C. § 106 (emphasis added).
18    Rimini “has the initial burden to identify any license provisions that it believes excuse its
19    infringement.” Oracle USA, Inc., F. Supp. 3d at 1093; see also Bourne v. Walt Disney Co., 68
20    F.3d 621, 631 (2d Cir. 1995); Michaels v. Internet Entm’t Group, Inc., 5 F. Supp. 2d 823, 831,
21    834 (C.D. Cal. 1998). If Rimini identifies any license it alleges to be relevant, Oracle can
22    overcome the license defense by showing that Rimini’s conduct exceeded the scope of what the
23    license authorized. LGS Architects, Inc. v. Concordia Homes of Nevada, 434 F.3d 1150, 1156
24    (9th Cir. 2006) (licensee liable for infringement where plaintiff showed that licensee’s conduct
25    exceeded scope of the license).
26           The licenses for
27                                                                 the provisions found in the City of
28    Flint and Pittsburgh Public Schools licenses and construed by the Court. SUF 1-3. Rimini’s
                                                    23
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 1                                   , Rimini
 2                                                          SUF 29-30.
 3                         and Rimini
 4                    associated with                            on Windstream servers, located at
 5                                         . SUF 31-37, 40-41, 50.
 6           Rimini is liable for the copying that
 7                “[O]ne who, with knowledge of the infringing activity, induces, causes or materially
 8    contributes to the infringing conduct of another, may be held liable as a ‘contributory’ infringer.”
 9    Perfect 10, Inc. v. Amazon.com, Inc., 508 F.3d 1146, 1171 (9th Cir. 2007); see also Fonovisa, Inc.
10    v. Cherry Auction, Inc., 76 F.3d 259, 264 (9th Cir. 1996). Rimini’s conduct satisfies these
11    elements. Rimini unquestionably had knowledge that these infringing copies would be made.
12    SUF 23-30, 33, 50. Rimini also induced and materially contributed to the creation of the
13    infringing copies by, among other things,
14

15

16                                      copies of Oracle software. SUF 10, 15, 19-20, 23-25, 29. Rimini
17    was already well aware, based on the Court’s February 2014 Order, that                t PeopleSoft
18    licenses limited copying to the customers’ facilities. SUF 1-2, 21, 23, 26. Rimini also knew that
19

20                . SUF 23, 25-27, 42, 50. Oracle has thus established all elements of a contributory
21    copyright infringement claim, and finding such infringement on summary judgment is appropriate
22    here. See Fonovisa, Inc., 76 F.3d at 264; Columbia Pictures Industries, Inc. v. Fung, 710 F.3d
23    1020, 1039 (9th Cir. 2013) (affirming district court’s grant of summary judgment on plaintiff’s
24    claims of contributory infringement based on inducement theory of liability).
25           B.       Rimini Also Directly Infringed Oracle’s Copyrights by Copying
26

27           Rimini itself also created copies of Oracle software                 . After Rimini
28
                                                     26
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 1                                        , Rimini personnel then “
 2                                                                           . SUF 30-34. This “
 3            resulted in the reproduction of the Oracle protected expression
 4                  and constitutes direct infringement. SUF 35-36, 40-41; see also Triad Sys. Corp. v.
 5    Southeastern Express Co., 64 F.3d 1330, 1335 (9th Cir. 1995) (prima facie case of copyright
 6    infringement where defendant was “copying [plaintiff’s] entire [computer] programs” to provide
 7    software service and maintenance to plaintiff’s software customers), overruled on other grounds
 8    by Gonzales v. Texaco, 344 F. App’x 304, 306 (9th Cir. 2009).
 9           C.      Rimini’s Express License Defense Fails Because The Windstream
                     Environments Are Not Located at the Customer’s Facilities.
10

11           The        license interpretation the Court reached in Rimini I, which put Rimini-hosted
12    environments beyond the scope of the relevant licenses, applies with equal force to these
13    Windstream-hosted environments, which are also not the customer’s facilities.
14           In interpreting the license for City of Flint, the Court in Rimini I determined that the City
15    of Flint’s license “expressly limits copying the licensed software to only the City of Flint’s
16    facilities.” Oracle USA, Inc., 6 F. Supp. 3d at 1097; Oracle USA, Inc. v. Rimini Street, Inc., 879
17    F.3d 948, 959-60 (9th Cir. 2018) (affirming same).
18

19

20                                               SUF 1.
21           Similarly, the Rimini I Court also ruled that the license for Pittsburgh Public Schools
22    limited the copying and use of the licensed software to “facilities owned or leased by [the
23    Pittsburgh Public Schools],” that Rimini “made copies of the licensed software at its own
24    facilities and outside the control of the Pittsburgh Public Schools,” and as such, the copying was
25    outside the scope of the license. Oracle USA, Inc., 6 F. Supp. 3d at 1101.
26                                                                                         SUF 2. Given
27    the Ninth Circuit’s final ruling regarding the facilities restrictions in these PeopleSoft licenses,
28    Rimini is estopped from arguing for a different interpretation. See, e.g., Rainero, 2013 WL
                                                    27
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 1    5965916, at *3; Viesti Associates, 2015 WL 585806 at *6 (finding party estopped from litigating
 2    the meaning of a term in a license that contained “the same or substantially similar language” to a
 3    previously-analyzed license in a case involving the same parties).
 4           The Rimini I Court also made clear that “facilities” are a physical space, by differentiating
 5    “systems” from “facilities” when it noted that “it is undisputed that Rimini’s copies of the
 6    licensed PeopleSoft-branded software are kept on Rimini’s systems at its facilities and outside the
 7    control of the City of Flint.” Oracle USA, Inc., 6 F. Supp. 3d at n.10 (emphasis added). The
 8    Ninth Circuit affirmed the Rimini I Court’s interpretation and application of the facilities
 9    restriction. Oracle USA, Inc. v. Rimini Street, Inc., 879 F.3d 948, 959-60 (9th Cir. 2018).
10           Applying here the license interpretation that the Rimini I Court applied to Rimini local-
11    hosted environments, the Windstream environments are not at any customer’s facilities either.
12    SUF 4. The Windstream-hosted PeopleSoft software environments ostensibly associated with
13                                were
14                      SUF 6-7, 10-15, 18-20, 29-37, 40-41, 50. The
15                 licenses do not authorize                                                  . SUF 1-2.
16                                                                                           . But Oracle
17    PeopleSoft customers                               may not
18                                             without an express license right to do so. SUF 4.
19           Under a straightforward application of the Rimini I Court’s ruling that the software at
20    issue can be located “only” at the customer’s facilities, the software cannot be located at
21    Windstream. Oracle USA, Inc., 6 F. Supp. 3d at 1097. In affirming the Rimini I Court’s ruling,
22    the Ninth Circuit rejected Rimini’s arguments that the plain meaning of “facilities” encompasses
23    servers not kept on customers’ “actual premises” such as when customers “contract[] with third
24    parties for still more capacity.” Oracle USA, Inc. v. Rimini Street, Inc., 879 F.3d 948, 959-60 (9th
25    Cir. 2018). Windstream is a
26                                              . SUF 42. This is not the customers’ facilities.
27           The                                                           further confirm that the
28    Windstream facilities are not the customers’ facilities.
                                                    28
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 1

 2                                                                                                  and by
 3    specifying that
 4

 5

 6                                                        SUF 43-44. Windstream’s corporate designee’s
 7    testimony also                                                                                . SUF
 8    46. The agreements that                               have with Windstream
 9

10                                       SUF 43-47.
11                                                                                . SUF 43-46. Nor do
12    any                           agreements
13

14                                                SUF 46-47. And although customers
15

16                           the environments. SUF 43-44.
17             Moreover,                                     , Rimini’s conduct runs afoul of the
18                                                                                       . See SUF 1-2.
19    Rimini
20                         SUF 23, 25. The Windstream copies were not created solely for the internal
21    business use of the customer; they were created, in large part, for
22

23

24              . SUF 43-44, 49. Rimini orchestrated the migration
25

26                 SUF 51. Such copies cannot be said to be “solely for the internal business use” of the
27    customers with which they are associated.
28             Oracle’s facilities restriction is not unique. In Dun & Bradstreet Software Services, Inc. v.
                                                         29
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 1    Grace Consulting, Inc., 307 F.3d 197, 212 (3d Cir. 2002), the license agreement provided in
 2    relevant part that “the customer is authorized to use ‘the system solely for its own internal
 3    operation . . . within Customer’s data center at the location designated on the Customer and
 4    Product Information Schedule, at any other site which may replace it as provided in this section,
 5    or through a service bureau upon written prior approval of M & D.’” The court there stated that
 6    “[t]he limitation of the license authorization to the customer’s site and for its own internal
 7    operation is plain; use elsewhere may be permissible but with written prior approval of the
 8    licensor.” Id.; see also, e.g., HyperQuest, Inc. v. N'Site Solutions, Inc., 632 F.3d 377, 379 (7th
 9    Cir. 2011) (defendant was limited to using the software only within its own facilities, and
10    received no rights to modify the software or sell it to others).
11           Neither of the customers at issue nor Rimini
12                                           SUF 1-2, 4. Any claim by Rimini that the use of off-site or
13    cloud-hosted storage is an industry standard has no effect on express license requirements. Dun
14    & Bradstreet, 307 F.3d at 211 (rejecting defendant’s argument that “it was industry practice to
15    allow programs off-site,” noting that “[a] defense of industry custom and practice in the face of
16    the protective provisions of the Copyright Act could undermine the purposes and objectives of the
17    statute and reduce it to rubble.”); F.B.T. Productions, LLC v. Aftermath Records, 621 F.3d 958,
18    966-7 (9th Cir. 2010) (“evidence regarding industry custom” was immaterial in light of the
19    “unambiguous[]” contract terms, and therefore “the district court erred in denying [plaintiff]
20    summary judgment”).
21           The PeopleSoft environments associated with Rimini customers
22    copied to Windstream are not located at those customers’ facilities under the PeopleSoft facilities
23    restrictions or solely for those customers’ internal business operations. Oracle is therefore
24    entitled to summary judgment on Rimini’s express license defense as to those copies.
25    VIII. CONCLUSION
26           For the foregoing reasons, Oracle respectfully requests the Court grant this Motion for
27    Partial Summary Judgment.
28
                                                      30
                   ORACLE’S MOTION FOR PARTIAL SUMMARY JUDGMENT REGARDING
                          RIMINI’S MIGRATION AND WINDSTREAM HOSTING
     Case 2:14-cv-01699-LRH-CWH Document 930 Filed 10/12/18 Page 36 of 37



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 2
      DATED: October 12, 2018          MORGAN, LEWIS & BOCKIUS LLP
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 5                                     By:                    /s/ John A. Polito
                                                             John A. Polito
 6                                           Attorneys for Defendants and Counterclaimants
                                              Oracle America, Inc. and Oracle International
 7                                                                Corp.
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     Case 2:14-cv-01699-LRH-CWH Document 930 Filed 10/12/18 Page 37 of 37



 1                                     CERTIFICATE OF SERVICE
 2            I certify that on October 12, 2018, I electronically transmitted the foregoing ORACLE’S

 3    MOTION FOR PARTIAL SUMMARY JUDGMENT REGARDING RIMINI’S MIGRATION

 4    AND WINDSTREAM HOSTING to the Clerk’s Office using the CM/ECF System for filing and

 5    transmittal of a Notice of Electronic Filing to all counsel in this matter; all counsel are CM/ECF

 6    registrants.

 7

 8    Dated: October 12, 2018                                Morgan, Lewis & Bockius LLP
 9

10                                                By:                /s/ John A. Polito
                                                                         John A. Polito
11
                                                               Attorneys for Defendants and
12                                                       Counterclaimants Oracle America, Inc. and
                                                                Oracle International Corp.
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